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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MATTHEW STEGMAN
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. CRS-07-432 EJG
                                           )
12                      Plaintiff,         )   STIPULATION AND ORDER TO MODIFY
                                           )   BRIEFING SCHEDULE RE DEFENDANT
13   v.                                    )   VIRAMONTES’ MOTION TO SUPPRESS
                                           )   STATEMENTS
14   JAMES ROY MARTIN,                     )
     MARIO FELLINI, III,                   )   DATE: March 19, 2010
15   GABRIEL RICHARD VIRAMONTES, and       )   TIME: 10:00 a.m.
     JOSEPH SALVATORE GALLO,               )   COURT: Hon. Edward J. Garcia
16                                         )
                        Defendants.        )
17
18        IT IS HEREBY STIPULATED between the United States of America,
19   through its attorney of record, Matthew C. Stegman, Assistant U.S.
20   Attorney; and Gabriel Richard Viramontes, through his attorney,
21   Michael B. Bigelow, that the briefing schedule be modified as set
22   forth below.   The hearing date already scheduled will remain as set
23   for March 19, 2010, at 10:00 a.m.
24        The week of March 1, 2010, Matthew Stegman will be an instructor
25   at a mortgage fraud conference held in South Carolina.         Further, the
26   parties are discussing a possible plea agreement.        Because of these
27   reasons, the government needs additional time to prepare its
28   opposition brief, and the parties need additional time to discuss a

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 1   plea agreement.   Mr. Bigelow has advised he has no objection to
 2   modifying the briefing schedule.
 3        The briefing schedule would be modified as follows:
 4        Government response:         March 8, 2010;
 5        Defense reply, if any:       March 12, 2010.
 6        The parties stipulate and agree that time, from February 6,
 7   2010, the date of the filing of the motion, through and including
 8   March 19, 2010, the date of the hearing, shall be excluded from
 9   computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to Local Codes T2
11   (case unusual and complex), T4(time for defense counsel to prepare)
12   and E (pending motions.)
13   Dated: February 26, 2010
                                        /s/ Michael B. Bigelow
14                                     MICHAEL B. BIGELOW
                                       Attorney for Defendant
15                                     GABRIEL RICHARD VIRAMONTES
16
17   Dated: February 26, 2010
                                       BENJAMIN B. WAGNER
18                                     UNITED STATES ATTORNEY
19
20                               By:   /s/ Matthew C. Stegman
                                       MATTHEW C. STEGMAN
21                                     Assistant U.S. Attorney
22
23        IT IS SO ORDERED:
24   DATED: 2/26/10                     /s/ Edward J. Garcia
                                       EDWARD J. GARCIA, JR.
25                                     Senior U.S. District Court Judge
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